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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. ED CV 19-00032-AG (DFM) Date: January 11, 2021

 

Title Antquan Durpree Clay v. San Bernardino County, et al.

 

 

 

Present: The Honorable Douglas F. McCormick, United States Magistrate Judge

 

 

 

 

 

Nancy Boehme Not Present
Deputy Clerk Court Reporter
Attorney(s) for Plaintiff(s): Attorney(s) for Defendant(s):
Not Present Not Present

 

Proceedings: (INCHAMBERS) Order to Show Cause

 

 

 

On July 7, 2020, the Court issued its Case Management Order directing the parties to both
file a case management report. See Dkt. 28 at 4. The deadline has passed and while Defendant
filed a report (see Dkt. 35) Plaintiff has failed to do so.

Accordingly, within twenty-one (21) days of the date of this order, Plaintiff is ORDERED
to show good cause in writing why the Court should not dismiss this action for failure to
prosecute. Plaintiff is expressly warned that if he fails to file a timely response to this Order, the
Court may dismiss this action for lack of prosecution.

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